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                              UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW MEXICO

UNITED STATES OF AMERICA,

                       Plaintiff,

v.                                                                    CR18-3475 WJ

ROBERT DUNSWORTH,

                       Defendant.


                         ORDER DENYING DEFENDANT’S
                  APPEAL FROM MAGISTRATE DETENTION ORDER

       THIS MATTER is before the Court on the Defendant’s Appeal from Magistrate

Detention Order and the hearing held April 10, 2019. The Court, having heard oral argument,

having reviewed the written pleadings, and having reviewed the Pretrial Services report,

determines, for the reasons stated on the record, that the motion should be denied. More

specifically, the Court finds for the reasons stated on the record that the United States established

risk of flight by a preponderance of the evidence and established dangerousness to any other

person or to the community by clear and convincing evidence.

       IT IS THEREFORE ORDERED that the Defendant’s Appeal from Magistrate

Detention Order (Doc. 15) is denied. The Defendant shall remain in the custody of the United

States Marshal pending trial or further order of the Court.




                                                      WILLIAM P. JOHNSON
                                                      UNITED STATES DISTRICT JUDGE
